                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )      NO.3:10-00065
                                                 )      JUDGE CAMPBELL
QUINCY MARUICE FUQUA                             )


                                         ORDER


      Pending before the Court is a Motion for Extension of Time to Respond to Motion for New

Trial (Docket No. 277). The Motion is GRANTED.

      The Government shall have until February 28, 2013, to response to the Motion.

      It is so ORDERED.

                                                 ____________________________________
                                                 TODD J. CAMPBELL
                                                 UNITED STATES DISTRICT JUDGE




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